














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


					




NO. PD-1683-13





ISAAC LAMAR THOMAS, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE NINTH COURT OF APPEALS

MONTGOMERY COUNTY




	Per curiam. KEASLER and HERVEY, JJ., dissent.

						

ORDER


	The petition for discretionary review violates Rule of Appellate Procedure
9.4(i)(2)(D), because the petition exceeds the proper page limits. 

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be
filed in the Court of Criminal Appeals within thirty days after the date of this order.


Filed: January 15, 2014

Do Not Publish


